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     Sacramento, California 95814
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     Facsimile: (916) 447-2988
4
     Attorney for Defendant
5    Gagik Nersesyan

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7
                                       IN THE UNITED STATES DISTRICT COURT
8
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                             )        2:17-CR-0028-WBS
11                                                         )
                                         Plaintiff, )
12                                               )                  STIPULATION AND ORDER
     v.                                          )                  TO CONTINUE STATUS CONFERENCE,
13                                               )                  AND TO EXCLUDE TIME
                                                 )
14   Gagik Nersesyan,                            )                  Date: February 12,2018
                                                 )                  Time: 9:00 a.m.
15
                                  Defendant.     )                  Judge: Hon. William B. Shubb
     ___________________________________________ )
16

17
              IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney, through Brian
18
     Fogerty, Assistant United States Attorney, attorney for Plaintiff, Michael Long attorney for Mkrtych Sargsyan, and
19
     Hayes Gable, III, attorney for defendant Gagik Nersesyan, and Ruzanna Poghosyan, attorney for defendant, Oganes
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     Emirzyan, that the status conference scheduled for February 12, 2018 be vacated and continued to April 23, 2018 at
21
     9:00 a.m.
22
              Defense counsel require additional time to review the discovery, to conduct additional investigation and
23
     legal research, and to confer with their clients about how to proceed in this case. Additionally, both Mr. Long and
24
     Mr. Gable were recently appointed in this matter.
25
              Based upon the foregoing, the parties agree time under the Speedy Trial Act should be excluded as of
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     February 9, 2018, the date of the parties’ stipulation, through and including April 23, 2018; pursuant to 18 U.S.
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                 Stipulation and [Proposed] Order to Continue Status Conference
                Case 2:17-cr-00028-WBS Document 76 Filed 02/12/18 Page 2 of 3


1    §3161 (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4 based upon

2    continuity of counsel and defense preparation.

3                                                                Respectfully Submitted

4

5    Dated: February 9, 2018.                                    /s/ Michael Long
                                                                 MICHAEL LONG
6                                                                Assistant Federal Defender
                                                                 Attorney for MKRTYCH SARGSYAN
7                                                                (original signature on file)

8
                                                                 /s/ Hayes Gable, III
9                                                                HAYES GABLE, III
                                                                 Attorney for GAGIK NERSESYAN
10                                                               (original signature on file)
11
                                                                 /s/ Ruzanna Poghosyan
12                                                               RUZANNA POGHOSYAN
                                                                 Attorney for OGANES EMIRZYAN
13                                                               (original signature on file)
14

15
     DATED: February 9, 2018
16
                                                                 McGREGOR W. SCOTT
                                                                 United States Attorney
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18
                                                                 /s/ Brian Fogerty
19                                                               BRIAN FOGERTY
                                                                 Assistant United States Attorney
20                                                               Attorney for Plaintiff

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                Stipulation and [Proposed] Order to Continue Status Conference
                Case 2:17-cr-00028-WBS Document 76 Filed 02/12/18 Page 3 of 3


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 3                                                          ORDER

 4            IT IS HEREBY ORDERED, the Court having received, read, and considered the parties’ stipulation, and

 5   good cause appearing therefrom, adopts the parties’ stipulation in its entirety as it order. The Court specifically

 6   finds the failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 7   preparation, taking into account the exercise of due diligence. The Court finds the ends of justice are served by

 8   granting the requested continuance and outweigh the best interest of the public and defendants in a speedy trial.
 9            The Court orders from the time of the parties’ stipulation, February 9, 2018, up to and including April 23,
10   2018, shall be excluded from computation of time within which the trial of this case must be commenced under the
11   Speedy Trial Act, pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv) [reasonable time for counsel to prepare] and
12   General Order 479 (Local Code T4. It is further ordered the February 12, 2018 status conference shall be
13   continued until April 23, 2018, at 9:00 a.m.
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     Dated: February 9, 2018
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                 Stipulation and [Proposed] Order to Continue Status Conference
